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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


  ANTONIO RODRIGUEZ,
                                                       CASE NO.:
                        Plaintiff,

                 vs.                                   State County Court Case No.:
                                                       2021-027283-SP-05
  CREDIT CONTROL SERVICES, INC.
  D/B/A CREDIT COLLECTION SERVICES,
                                                       NOTICE OF REMOVAL
                        Defendant.



                                     NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. Sections 1332, 1441 and 1446, Defendant Credit Control Services,

  Inc. d/b/a Credit Collection Services (“CCS”), by and through its undersigned attorney of record,

  Gordon Rees Scully Mansukhani, LLP, hereby removes this action brought by Plaintiff, Antonio

  Rodriguez, originally filed in the County Court in and for Miami-Dade County, Florida County

  Court Case Number 2021-027283-SP-05, to the United States District Court for the Southern

  District of Florida, and CCS, reserving all defenses other than removal states as following in

  support:

         1.      On or about October 4, 2021, Plaintiff Antonio Rodriguez, (“Plaintiff”) filed a

  Complaint alleging two (2) 4) causes of action in the County Court of the Eleventh Judicial Circuit

  in and for Miami-Dade County, Florida, entitled and captioned: Antonio Rodriguez v Credit

  Control Services, Inc. d/b/a Credit Collection Services, which was assigned Case No.: 2021-

  027283-SP-05.

         2.      On or about February 4, 2022, CCS was served with the Complaint. Attached as

  Exhibit A is a copy of the Summons and Complaint in the State Court Action.
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           3.     CCS has timely filed this Notice of Removal pursuant to 28 U.S.C. §1446(b).

           4.     Removal to this Court is proper pursuant to 28 U.S.C. §1441(a), which provides, in

  relevant part, that “any civil action brought in a State Court of which the district courts of the

  United States have original jurisdiction, may be removed by the Defendant or Defendants, to the

  district court of the United States for the district and division embracing the place where such

  action is pending.”

           5.     As more fully set forth below, this Court has original jurisdiction based upon claims

  arising under Federal Law under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq.

           6.     Because Plaintiff’s First Cause of Action is federal question, the prerequisite for

  removal under 28 U.S.C. §1441 has been met, and this Court is vested with subject matter

  jurisdiction over this action.

           7.     Pursuant to 28 U.S.C. §1367, to the extent jurisdiction is not otherwise provided in

  this Notice, CCS respectfully requests that this Court exercise supplemental jurisdiction over

  Plaintiff’s state law claim, as such claim is so related to Plaintiff’s federal claim “that they form

  part of the same case or controversy under Article III of the United States Constitution.”

           8.     Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

  Removal will be given to Plaintiff, and a copy of the Notice of Removal will be filed with the

  County Court in and for Miami-Dade County, Florida Civil Division, Case No.: 2021-027283-SP-

  05.

           9.     CCS reserves all defenses including but not limited to those specified in FRCP

  12(b).

           10.    CCS files with this Notice, true and correct copies of all pleadings filed in the

  above-captioned State action.



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         11.     Written notice of the filing of this Notice of Removal on this date has been given

  to the Plaintiff, Antonio Rodriguez, through Plaintiff’s attorneys of record, Jibrael Hindi and

  Thomas Patti, Esqs., 110 SE 6th Street, Suite 1744, Fort Lauderdale, FL 33301, via electronic mail

  at jibrael@jibraellaw.com and tom@jibraellaw.com.

         12.     The undersigned certifies that the Defendant, CCS, has consented to the removal of

  this action from the Eleventh Judicial Circuit Court of Miami-Dade County, Florida to the United

  States District Court, Southern District.

         13.     The undersigned counsel is authorized by CCS to file this Notice of Removal, is

  licensed in the State of Florida, and is a member in good standing of the Bar of this Court.

         WHEREFORE, Defendant removes to this Court the above-entitled action, pending in the

  County Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, and requests

  this action be placed on the docket of this Court for further proceedings as though this action had

  originally been instituted in this Court. Additionally, Defendant respectfully requests that the

  docket of the Court notice this firm’s representation of Defendant Credit Control Services, Inc.,

  d/b/a Credit Collection Services for all further proceedings.

                                                Respectfully submitted,
  Dated: February 25, 2022
                                                GORDON REES
                                                SCULLY MANSUKHANI, LLP

                                          By:    /s/Chantel C. Wonder
                                                Chantel C. Wonder
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                                                Attorneys for Defendant Credit Control Services,
                                                Inc. d/b/a Credit Collection Services

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                                               CERTIFICATE OF SERVICE

                         I HEREBY CERTIFY that on February 25, 2022, a true and correct copy of the foregoing

                  was electronically filed with the Clerk of the Court by using the CM/ECF system and was sent via

                  electronic email to:

                                                      Jibrael S. Hindi, Esq.
                                                      Thomas J. Patti, Esq.
                                                The Law Offices of Jibrael S. Hindi
                                                  110 SE 6th Street, Suite 1744
                                                    Fort Lauderdale, FL 33301
                                                   Telephone: (954) 907-1136
                                                  Email: jibrael@jibraellaw.com
                                                      tom@jibraellaw.com


                                                              GORDON REES
                                                              SCULLY MANSUKHANI, LLP

                                                        By:    /s/Chantel C. Wonder
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                                                              Attorneys for Defendant Credit Control Services, Inc
                                                              d/b/a Credit Collection Services




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